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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )       Case No. 3:19cr130
                                              )
OKELLO T. CHATRIE,                            )
          Defendant                           )


                    DEFENDANT’S CONSENT MOTION TO EXTEND
                 DEADLINE TO RESPOND TO GOOGLE’S AMICUS BRIEF

         Okello Chatrie, through counsel, moves the Court to extend by one week the deadline to

file a response to Google’s amicus brief. In support of this motion, Mr. Chatrie states the

following:

      1. On September 17, 2019, the government indicted Mr. Chatrie on two counts. The first

         count, forced accompaniment during a robbery, which is in violation of 18 U.S.C. § 2113,

         carries a ten year mandatory minimum. The second count, brandishing a firearm in

         furtherance of a crime of violence, which is in violation of 18 U.S.C § 924(c), carries a

         seven year consecutive mandatory minimum.

      2. Mr. Chatrie made his initial appearance in this case on September 26, 2019.

      3. The Court arraigned Mr. Chatrie on October 1, 2019. After Mr. Chatrie’s arraignment, it

         became apparent to the defense that this case involved an issue of first impression as

         detailed more fully in the geofence filings in ECF Nos. 28, 29, 48, and 49.

      4. Prior to the December 12, 2019, status conference in this case, counsel for Google had

         contacted undersigned counsel and the government to inform the parties that Google

         intended to seek leave to file an amicus brief. The defense counsel communicated with


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    counsel for Google prior to the December 12, 2019, status conference and asked for more

    detail about the information that Google planned to present to the Court in its brief.

    Counsel for Google provided a very general overview of the topics that the brief would

    cover, but did not provide any specific detail. Undersigned counsel had requested that

    counsel for Google provide a draft or additional detail to undersigned counsel before filing

    the motion for leave to enter the case as amicus in order to expedite the defense’s response

    to the amicus brief. Counsel for Google indicated it would try to comply with that request

    if there was time to do so before filing the motion for leave to enter the case as amicus.

    Counsel for Google did not contact the defense with any further detail or draft.

 5. On December 20, 2019, counsel for Google filed the motion for leave to enter the case as

    amicus. See ECF No. 59. In its amicus brief, Google proffered a great deal of technical

    detail that the defense had not had any prior opportunity to view before counsel for Google

    filed its brief.

 6. The technical details of how Google collects, sorts, and turns over the data in a geofence

    warrant are critical to the Court’s resolution of the pending geofence motions. Undersigned

    counsel have been working on this case and this issue while all defense counsel have been

    on preplanned annual leave and during federal and Court holidays, but need some

    additional time to effectively respond to the volume of detail in Google’s amicus brief.

    The Court had previously directed the parties to file responses to Google’s amicus brief by

    Friday, January 3, 2020. See ECF No. 51. In order to effectively respond to the technical

    details that Google proffered in its brief, the defense requests a one-week extension of the

    deadline in which to file a response to Google’s amicus brief.




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    7. Undersigned counsel has communicated with the government, represented here by Ken

         Simon, about this request. Mr. Simon has indicated that the government has no objection

         to this request.

Thus, pursuant to Mr. Chatrie’s constitutional rights to remain free from unreasonable searches

and seizures, to due process, to present a defense, and to effective assistance of counsel, Mr.

Chatrie moves the Court to extend by one week the deadline to file a response to Google’s amicus

brief.

                                                    Respectfully submitted,
                                                    OKELLO T. CHATRIE

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                                CERTIFICATE OF SERVICE


        I hereby certify that on December 31, 2019, I filed the foregoing with the Clerk of Court
using the CM/ECF system, which will send a notification of such filing (NEF) to all counsel of
record.

                                                    ___________/s/____________
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